               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CHARLES RICE KENDALL and
ANN P. HOCHBERG, as Trustees for
The Thomas E. Proctor Heirs Trust,             CIVIL ACTION No.
and BANK OF AMERICA, N.A., and
JOHN J. SLOCUM, JR. as Trustees for
The Margaret O.F. Proctor Trust,               JURY TRIAL DEMANDED

                      Plaintiffs,

       v.

ANADARKO E&P ONSHORE LLC,
WALLIS RUN HUNTING CLUB, INC.,
WALLIS RUN GAS AND OIL, INC.

                      Defendants.

                                    COMPLAINT
      Plaintiffs Charles Rice Kendall and Ann P. Hochberg, the Trustees of the
Thomas E. Proctor Heirs Trust, and Bank of America, N.A., and John J. Slocum,
Jr., the Trustees of the Margaret O.F. Proctor Trust (collectively, the “Proctor
Trusts”), for their Complaint against Defendants Anadarko E&P Onshore, LLC,

Wallis Run Hunting Club, Inc., and Wallis Run Gas and Oil, Inc., aver the
following:
                                    THE PARTIES

      1.     The Thomas E. Proctor Heirs Trust (“PHT”) is a trust held in benefit
of the numerous heirs of Thomas E. Proctor, Sr. whose current trustees are Ann P.
Hochberg and Charles R. Kendall. Pursuant to the trust document, the trustees of
the trust have the authority to sue and be sued and prosecute and defend any and all
actions affecting the trust or its property.

       2.    Plaintiff Charles Rice Kendall, co-trustee of the PHT, is an adult
individual domiciled in Maine.
       3.    Plaintiff Ann P. Hochberg, co-trustee of the PHT, is an adult
individual domiciled in Massachusetts.
       4.    The Margaret O.F. Proctor Trust (“MPT”) is a trust held for the
benefit of the heirs of Margaret O.F. Proctor whose current trustees are John J.
Slocum, Jr., and Bank of America, N.A. Pursuant to the trust document, the
trustees of the trust have control over the property or assets of the trust and the
authority to sue and resolve any and all claims or demands affecting property of
the trust.
       5.    Plaintiff Bank of America, N.A., co-trustee of the MPT, is a national
banking association with its main office located in Charlotte, North Carolina.

Pursuant to 28 U.S.C. § 1348, Plaintiff Bank of America, N.A. is deemed to be a
citizen of North Carolina.
       6.    Plaintiff John J. Slocum, Jr., co-trustee of the MPT, is an adult
individual domiciled in Rhode Island.
       7.    Upon information and belief, Defendant Anadarko E&P Onshore LLC
(“Anadarko”) is a Delaware corporation with its principal place of business in

Texas.




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       8.     Upon information and belief, Defendant Wallis Run Hunting Club,
Inc. (“Wallis Run”) is a Pennsylvania corporation with its principal place of

business in Pennsylvania.
       9.     Upon information and belief, Defendant Wallis Run Gas and Oil, Inc.
(“Wallis Run Gas”) is a Pennsylvania corporation with its principal place of
business in Pennsylvania.

                           JURISDICTION AND VENUE
       10.    Jurisdiction is proper pursuant to 28 U.S.C. § 1332 because the
amount in controversy exceeds $75,000, exclusive of costs and interest, and there

is complete diversity of citizenship between all Plaintiffs and all of Defendants.1
       11.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391 as the
property that is the subject of the action is situated in this judicial district and a

substantial part of the events giving rise to the claims occurred in this judicial
district.




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         The citizenship of the trustees is utilized for diversity purposes where, as
here, the action is brought in the names of the trustees and the trustees have the
right to sue and be sued on behalf of the trust. See, e.g., Navarro Savings
Association v. Lee, 446 U.S. 458, 464-66, 100 S.Ct. 1779, 1783-84 (1980);
Emerald Investors Trust v. Gaunt Parsippany Partners, 492 F.3d 192, 201-02 (3d
Cir. 2007). Even if the Court were to consider the citizenship of each of the
beneficiaries, however, there remains federal jurisdiction, in that the beneficiaries
are citizens (variously) of Alaska, Colorado, Illinois Maine, Massachusetts, New
Hampshire, Maryland, New York, Rhode Island, South Dakota, Tennessee, and
West Virginia.
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                           FACTUAL BACKGROUND
A.    Chain of Title and Leasing History

      12.    The Proctor Trusts together own 100% of the subsurface rights to part
of the John Brown Warrant as conveyed in the deed from John McCawley to John
Meyer, located in Cascade Township, Lycoming County, Pennsylvania, consisting
of approximately 206 net acres (the “Subject Property”), with PHT owning an
undivided 93.75% interest and MPT owning an undivided 6.25% interest.
      13.    Title to the petroleum and natural gas rights in and under the Subject
Property is vested in the Proctor Trusts as follows:
                   a.     Title to the surface and subsurface of part of the John
             Brown Warrant which comprises the Subject Property was conveyed
             by John McCawley to John Meyer on March 30, 1857 and recorded
             on May 15, 1857 (the “Meyer Deed”). See Lycoming County Deed
             Book 38, Page 295. The legal description of the Subject Property is

             as follows: “Beginning at a Beech original north East corner of tract
             in the warrantee name of John Brown then South one hundred and
             ninety to Beech original South East corner of said tract then west one
             hundred and seventy three and one half perches to a post then north
             one hundred and ninety to a post, then east one hundred and seventy
             three and one half perches to the Beech the place of Beginning.”

                   b.     On May 13, 1871, title to the surface and subsurface of
             the Subject Property was conveyed from John F. Meyer and his wife



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Mary M. Meyer to Thomas E. Proctor. See Lycoming County Deed
Book 64, Page 413.

      c.     Title to the surface of the property, including the Subject
Property, was conveyed in the Warranty Deed from Thomas E.
Proctor and wife Emma H. Proctor, to Elk Tanning Co. in 1894. Said
deed excepted and reserved to Thomas E. Proctor, his heirs and
assigns “all the natural gas, coal, coal-oil, petroleum, marble and all
minerals of every kind and character…” (the “Proctor Subsurface
Estate”). See Lycoming County Deed Book 144, Page 398.
      d.     Thomas E. Proctor, Sr. died testate and a resident of
Boston, Massachusetts. He was survived by his widow and four
children. Through the residuary clause of his will, Thomas E. Proctor,
Sr., distributed all of his interest in, among other things, the Proctor
Subsurface Estate, with ½ to his four children equally and ½ to his

widow for life. Following his wife’s death, her share transferred to
his four children equally.
      e.     Three of the four children of Thomas E. Proctor, Sr., had
children of their own. The heirs of Thomas E. Proctor, Sr. descended
from his children Anne Steele Proctor Rice and Emily Waters Proctor
Mandell subsequently conveyed their fractional interest in the Proctor

Subsurface Estate, including the Subject Property, to the PHT.
      f.     Thomas E. Proctor, Sr.’s son, James H. Proctor, died in
1946, leaving his ¼ interest in equal shares to his four surviving

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children. Three of James H. Proctor’s children or their heirs conveyed
their fractional interests in the Proctor Subsurface Estate to the PHT.

The fourth child, Thomas E. Proctor II, whose share was 1/16 (or
6.25%) of the original interest, had no issue and did not convey his
fractional interest in the Proctor Subsurface Estate to PHT before his
death in 1973. Instead, Thomas E. Proctor II’s interest passed to his
widow, Margaret O.F. Proctor, whose 6.25% interest in turn was
transferred into her testamentary trust, the MPT, upon her death in
1978 pursuant to the terms of her Will.
      g.     The fourth child of Thomas E. Proctor, Sr., Thomas E.
Proctor, Jr., died testate and a resident of Topsfield, Massachusetts, on
or about March 20, 1949, without issue. Through the residuary clause
of his will, his one-fourth (1/4) interest in the Proctor Subsurface
Estate, including the Subject Property, owned by his father at the time

of his death was transferred into a testamentary trust (“TEP Jr.”). In
2004, the Supreme Judicial Court of Massachusetts ruled that the TEP
Jr. was to terminate, and all shares were to be distributed to heirs

specified in a lower court decision, after the death of the great-
granddaughter of Thomas E. Proctor Sr., Mattina R. Proctor. After
Mattina R. Proctor’s death on February 20, 2005, the interest in the

Proctor Subsurface Estate, including the Subject Property held by TEP
Jr., was distributed to designated heirs in proportions specified by the
Massachusetts Probate Court. Each of the designated heirs who

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             received shares through termination of TEP Jr. subsequently conveyed
             and assigned all of their fractional interest in the Proctor Subsurface

             Estate, including the Subject Property, to the PHT by assignment.
      14.    Accordingly, the PHT owns a 15/16 (93.75%) interest and the MPT
owns a 1/16 (6.25%) interest in the Proctor Subsurface Estate, including the
Subject Property.
B.    Anadarko’s Drilling Activity
      15.    The Wallis Run Defendants claim title to a portion of the Subject
Property, and upon information and belief have entered into an oil and gas lease
with Defendant Anadarko which includes, inter alia, a portion of the Subject
Property (the “Wallis Run Lease”).
      16.    At no time prior to entering into the Wallis Run Lease did the Wallis
Run Defendants seek to quiet title to the subsurface rights associated with the
Subject Property.

      17.    Defendant Anadarko did not notify or seek permission from the
Proctor Trusts in connection with the Wallis Run Lease.
      18.    At no time has Defendant Anadarko sought permission from the
Proctor Trusts to produce the oil and gas associated with the Subject Property.
      19.    Upon information and belief, Anadarko has begun drilling activities in
and under the Subject Property.

      20.    Upon information and belief, Anadarko has drilled wells on the
Subject Property.



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      21.     Upon information and belief, Anadarko’s activities have produced
natural gas from portions of the wells running through the Subject Property.

      22.     Upon information and belief, the market value of the gas that has been
produced from the Subject Property is well in excess of $75,000.
      23.     Had the Proctor Trusts been able to lease their oil and gas rights
associated with the disputed portion of the Subject Property, the market rate lease
bonus would have substantially exceeded $75,000.
      24.     Any production of the oil and gas associated with the Subject Property
has been conducted without the permission of the Proctor Trusts.
      25.     Upon information and belief, the use and enjoyment of any production
of the oil and gas associated with the Subject Property has been retained by
Defendants.
      26.     The Proctor Trusts have never received notice of drilling activity from
Defendants nor received any compensation for the use and enjoyment of the

production of their oil and gas rights associated with the Subject Property.

                             COUNT I - QUIET TITLE
                              (Against all Defendants)
      27.     The Proctor Trusts hereby incorporates by reference the allegations

set forth in the foregoing paragraphs as though fully set forth herein.
      28.     The Proctor Trusts seek to quiet title to the oil and gas rights of the
Subject Property to remove any cloud on their title to the Subject Property that has

been created by Defendants’ actions.



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      29.      The Proctor Trusts hold title to the natural gas and oil contained in the
Subject Property as set forth above.

      30.      There is a cloud on the Proctor Trusts’ title to the oil and gas rights in
the Subject Property because such title is being challenged by Defendants’ actions.
      31.      Defendants have made claims to ownership or have tried to convey
interests in the oil and gas associated with the Subject Property.
      32.      The Proctor Trusts seek a determination that title to the oil and gas
rights of the Subject Property is vested in them.

                               COUNT II - TRESPASS
                                (Against Anadarko)
      33.      The Proctor Trusts incorporate by reference the allegations set forth in
the foregoing paragraphs as though fully set forth herein.
      34.      The Proctor Trusts have the exclusive right to the possession, use,
enjoyment and control of the Subject Property.
      35.      As a result of Anadarko’s unauthorized production of natural gas from
the Subject Property, Anadarko has interfered with the Proctor Trusts’ exclusive
right to possession, use, enjoyment and control of the Subject Property.
      36.      Anadarko’s production of natural gas from the Subject Property is
intentional.
      37.      As a result of Anadarko’s unauthorized production of natural gas from
the Subject Property, Anadarko has caused damage to the Proctor Trusts.




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      38.    As a result of Anadarko’s actions, the Proctor Trusts have lost their
ability to fully appreciate the benefits of the natural gas in and under the Subject

Property.
      39.    The Proctor Trusts have suffered damages as a result of the
unauthorized production of natural gas from the Subject Property in an amount to
be determined at trial.

                           COUNT III - CONVERSION
                             (Against all Defendants)
      40.    The Proctor Trusts incorporate by reference the foregoing paragraphs
as though fully set forth herein.
      41.    Anadarko has intentionally deprived the Proctor Trusts of their right
to the natural gas underlying the Subject Property through the production and sale

of gas from the Subject Property.
      42.    Anadarko has produced or obtained natural gas from the Subject
Property without the Proctor Trusts’ consent and without lawful justification.

      43.    The Proctor Trusts have suffered damages as a result of the
unauthorized production and sale of natural gas from the Subject Property in an
amount to be determined at trial.

                            COUNT IV - EJECTMENT
                               (Against Anadarko)
      44.    The Proctor Trusts incorporate by reference the allegations set forth in

the foregoing paragraphs as though fully set forth herein.




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      45.    The Proctor Trusts are the owners of the oil and gas underlying the
Subject Property.

      46.    Anadarko has exerted control over the oil and gas underlying the
Subject Property through the construction of gas wells and the continued
production of gas from the Subject Property.
      47.    Anadarko does not have any right, title, or interest in the oil and gas
underlying the Subject Property.

                     COUNT VI - UNJUST ENRICHMENT
                          (Against all Defendants)
      48.    The Proctor Trusts incorporate by reference the foregoing paragraphs
as though fully set forth herein.
      49.    Defendants have been unjustly enriched as a result of benefits
appropriated from the Proctor Trusts.
      50.    Anadarko has wrongly extracted natural gas from the Subject Property
owned by the Proctor Trusts and earned profit from that gas.
      51.    The Wallis Run Defendants have received benefits or compensation
from Anadarko in connection with Anadarko’s extraction of natural gas from the
Subject Property.
      52.    Defendants have appreciated and been enriched by such benefits that
rightfully belong to the Proctor Trusts.
      53.    The retention of such benefits by Defendants is inequitable and unjust
and has substantially damaged the Proctor Trusts.



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                 COUNT VII – DECLARATORY JUDGMENT
                         (Against all Defendants)
      54.    The Proctor Trusts incorporate by reference the foregoing paragraphs
as though fully set forth herein.
      55.    A dispute exists between the Proctor Trusts and Defendants as to the
ownership of the Subject Property.

      56.    The Proctor Trusts claim title to the subsurface estate of the Subject
Property.
      57.    Upon information and belief, Defendants claim title or an interest in

the subsurface estate of the Subject Property.
      58.    An actual controversy exists among the parties as to the ownership of
the subsurface estate of the Subject Property.

      59.    The Proctor Trusts seek a declaration that they own the subsurface
estate associated with the Subject Property.

                              PRAYER FOR RELIEF
      WHEREFORE, the Proctor Trusts demand judgment in their favor and
against Defendants as follows:
      (i)    That the Court enter an order declaring that the Proctor Trusts are the

rightful owners of the oil and natural gas estate associated with the Subject
Property;
      (ii)   That the Court enter judgment against Defendants and in favor of the
Proctor Trusts for all compensatory and punitive damages incurred as a result of
the Defendants’ actions, including, without limitation, the total amount of all


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benefits which have accrued to Defendants and/or which inured in any manner to
them as a result of the production of gas from the Subject Property;

      (iii)   That the Court enter an order ejecting Anadarko from the Subject
Property;
      (iv)    That the Court enter judgment against Defendants for prejudgment
interest and costs; and
      (v)     That the Court grant such other relief as it shall deem just and
equitable under the circumstances.
      Plaintiffs demand a jury trial on all claims so triable.

                                     Respectfully submitted,
Dated: June 17, 2016
                                     /s/ Laura A. Lange
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